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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No.

JOSEPH NEILL,

Plaintiff,
v.

KENNETH JAMES AND KING FARMS TRUCKING, LLC

Defendants.

       DEFENDANTS KENNTH JAMES’ AND KING FARMS TRUCKING, LLC’S
                        NOTICE OF REMOVAL

         Defendants Kenneth James and King Farm Trucking LLC (collectively referred to

as “Defendants”), by their counsel, Susan M. Stamm of Harris, Karstaedt, Jamison &

Powers, P.C., respectfully seek removal of Case No. 2019 CV 30661 from the Larimer

County District Court, State of Colorado, to the United States District Court for the

District of Colorado pursuant to the provisions of 28 U.S.C. §§ 1332, 1441 and 1446. In

support thereof, Defendants state as follows.

                               Procedural Background

        1.    On July 24, 2019, Plaintiff filed a Complaint and Jury Demand in Larimer

County District Court naming the above-referenced Defendants. See Exhibit 1, which

includes the Complaint and Jury Demand (“Complaint”) and Civil Case Cover Sheet and

Summons as required by 28 U.S.C. §1446(a).

        2.    To date, no Court orders have been issued by the Larimer County District

Court.
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      3.      The undersigned counsel received an August 1, 2019 email concerning

the Complaint and Jury Demand along with draft Waivers of Personal Service. A copy

of opposing counsel’s email is attached as Exhibit 2. Plaintiff’s Complaint and Jury

Demand asserts negligence and negligence per se claims against Defendant Kenneth

James and a respondeat superior claim against Defendant King Farms Trucking, LLC.

      4.      Since the parties were discussing a possible stay of proceedings to allow

them time to mediate this matter, the draft Waivers of Personal Service have not been

executed and neither Defendant has been personally served with Plaintiff’s Complaint

and Jury Demand. An Answer or other responsive pleading has not been filed and is

not currently due.

                                 Notice of Removal

      5.      After reviewing the Complaint and Jury Demand, Defendants have

determined that such action is removable to the U.S. District Court for the District of

Colorado pursuant to 28 U.S.C. §1446 and respectfully request that it be so removed.

      6.      Neither Defendant has been personally served with Plaintiff’s Complaint

and Jury Demand and the draft Waivers of Service have not been executed. The

undersigned counsel however, on behalf of Defendants, informally received a copy of

the Complaint and Jury Demand (and draft Waivers of Personal Service) by email on

August 1, 2019. Based on these circumstances, Defendants’ Notice of Removal has

been timely filed pursuant to 28 U.S.C. §1446(b) (a removal request must be made

within thirty (30) days following the date of service of process of the Plaintiff’s

Complaint).


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      7.     The United States District Court for the District of Colorado is the

appropriate federal court forum to hear this matter.

      8.     A Notice of Removal is being filed with the Larimer County District Court

and served on Plaintiff concurrent with the filing of the present Notice of Removal in

accordance with 28 U.S.C. §1446(d).

                        Diversity of Citizenship Jurisdiction

      9.     According to Plaintiff’s Complaint and Jury Demand, Defendant Kenneth

James is an individual whose last known address is Hyrum, Utah while Defendant

King Farms Trucking, LLC is a Utah company with its principal place of business

located in Tremonton, Utah. See Exhibit 1 at ¶¶2-3. Plaintiff is a resident of Larimer

County, Colorado. See Exhibit 1 at ¶1.

      10.    At the time Plaintiff filed his Complaint and Jury Demand with the Larimer

County District Court and continuing to the present, Defendant Kenneth James’

principal residence and domicile has been/is 510 W. 200 N, Hyrum, Utah 84319.

Defendant Kenneth James is a resident and citizen of Utah.

      11.    Defendant King Farms Trucking, LLC is a limited liability company duly

organized and incorporated under the laws of the State of Utah. At the time Plaintiff

filed his Complaint and Jury Demand with the Larimer County District Court and

continuing to the present, Defendant King Farms Trucking, LLC”s principal place of

business has been/is 820 North 2000 West, Suite C, Tremonton, Utah 84337. See

Exhibit 3; see also Defendant King Farms Trucking, LLC’s Corporate Disclosure

which is being filed contemporaneously with this Notice of Removal.


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      12.    Brandt King is the managing member of Defendant King Farms Trucking,

LLC and is a resident and citizen of Utah. All other members of Defendant King Farms

Trucking, LLC reside in and are citizens of Utah.

      13.    “[T]he jurisdiction of the [c]ourt depends upon the state of things at the

time of the action brought . . . ”. See, Mollan v. Torrance, 22 U.S. 537, 539 (1824); see

also, Symes v. Harris, 472 F.3d 754, 758 (10th Cir. 2006). Diversity of citizenship

therefore existed at the time Plaintiff filed his Complaint and Jury Demand in Larimer

County District Court and continues to the present.

                               Amount in Controversy

      14.    A federal Court has diversity jurisdiction when there is complete diversity

of citizenship among the parties and the amount in controversy, exclusive of interest

and costs, exceeds $75,000. Stuart v. Colorado Interstate Gas Co., 271 F.3d 1221,

1224 (10th Cir. 2001). Generally, the amount in controversy may be determined by the

allegations contained in the complaint or, if not dispositive, by the allegations in the

Notice of Removal. Laughlin v. K-Mart Corp., 50 F3d 871, 873 (10th Cir. 1995); Martin

v. Franklin Capital Corp., 251 F.3d 1284, 1290 (10th Cir. 2001).

      15.    The amount in controversy in the present matter exceeds the sum of

$75,000, exclusive of interest and costs.

      16.    First and foremost, according to his signed Civil Case Cover Sheet,

Plaintiff represents he is seeking a monetary judgment in excess of $100,000 against

Defendants, exclusive of attorney fees, interest and costs. See, Exhibit 1, Civil Case

Cover Sheet; see also State Court Docket Sheet regarding the inapplicability of


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C.R.C.P. 16.1, included as Exhibit 4. According to his Complaint and Jury Demand,

Plaintiff seeks a myriad of damages for alleged injuries arising out of a July 28, 2016

trucking accident.   See Exhibit 1 at ¶ 13. Such damages include inter alia past and

future health care expenses; past and future pain and suffering; past and future wage

losses and loss of earning capacity; permanent scarring and disfigurement; and

permanent impairments. See Exhibit 1.

      17.    Based on Plaintiff’s Civil Case Cover Sheet, the State Court Docket Sheet

and the allegations included in Plaintiff’s Complaint and Jury Demand (Exhibit 1),

Defendants believe they have met their burden to show that the amount in controversy

exceeds $75,000.     The Civil Cover Sheet filed in state court is considered “other

paper” under 28 U.S.C. §1446(b)(3) for purposes of determining the amount in

controversy. Paros Properties LLC v. Colorado Casualty Insurance Company, 835

F.3d 1264, 1272 (10th Cir. 2016)(Civil cover sheet is acceptable evidence to show

amount in controversy); see also Henderson v. Target Stores, Inc., 431 F. Supp. 2d

1143, 1144 (D. Colo. 2006).     Notably, the Civil Cover Sheet Plaintiff’s attorney signed

with respect to the Plaintiff’s claims contains the following language:

             By my signature below and compliance with C.R.C.P. 11, based
             upon information reasonably available to me at this time, I certify
             that the value of this party’s claims against one of the other parties
             is reasonably believed to exceed $100,000.

      18.    For the reasons stated above, Plaintiff’s action is removable to the United

States District Court for the District of Colorado pursuant to 28 U.S.C. §§1332(a)(1),

1441(a) and 1446(a).



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      WHEREFORE, Defendants respectfully request that the underlying state court

action pending in Larimer District Court, State of Colorado, be removed to this

Honorable Court.

      Dated this 29th day of August, 2019.


                                          Respectfully submitted,

                                          s/ Susan M. Stamm
                                          Susan M. Stamm
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                                          Englewood, Colorado 80112
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                                          Fax:    720-875-9141
                                          sstamm@hkjp.com
                                          ATTORNEYS FOR DEFENDANTS


                             CERTIFICATE OF SERVICE

       I certify that on this 29th day of August, 2019, I electronically filed DEFENDANTS
KENNTH JAMES’ AND KING FARMS TRUCKING, LLC’S NOTICE OF REMOVAL
with the Clerk of the Court using the CM/ECF system and emailed the document to the
following email addresses:

William C. Doutt, Esq.                           Email: bill@hsdlawfirm.com
Sara Stieben, Esq.                                      sara@hsdlawfirm.com
Hadfield Stieben & Doutt, LLC
215 W. Magnolia Street, Suite 201
Fort Collins, Colorado 80521
Attorneys for Plaintiff




                                             /s/ Lorie A. Gettman




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